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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


In re:
                                                                          PROMESA
The Financial Oversight and Management Board for                          Title III
Puerto Rico,

         as representative of                                             No. 17 BK 3283-LTS

The Commonwealth of Puerto Rico, et al.,
Debtors.1
                                                                          PROMESA
In re:
                                                                          Title III
The Financial Oversight and Management Board for
Puerto Rico,                                                              No. 17 BK 4780-LTS
         as representative of
                                                                          Court Filing Relates Only to
The Puerto Rico Electric Power Authority,                                 PREPA and Shall Only be Filed
                           Debtor.                                        in Case No. 17 BK 4780-LTS and
                                                                          Main Docket 17 BK 3283-LTS

         AMENDED SIXTEENTH SUPPLEMENTAL VERIFIED STATEMENT OF
           THE AD HOC GROUP OF PREPA BONDHOLDERS PURSUANT
             TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

                  Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure

(“Bankruptcy Rule 2019”), and the Order Further Amending Case Management Procedures

(the Case Management Order”) [Case No. 17-3283, Dkt. No. 20190], this amended

supplemental verified statement (the “Amended Sixteenth Supplemental Statement”) is

submitted by certain holders (the “Ad Hoc Group of PREPA Bondholders” or the “Ad Hoc




1
 The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
(Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID:
8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS)
(Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last
Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case
No. 19 BK 5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy
Case numbers due to software limitations).
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Group”) of Power Revenue Bonds and Power Revenue Refunding Bonds (collectively, the

“Bonds”) issued by the Puerto Rico Electric Power Authority (“PREPA”) under a trust

agreement between PREPA and U.S. Bank National Association, as successor trustee, dated

January 1, 1974, as amended and supplemented, in connection with the case (“PREPA Title III

Case”) commenced by the above-captioned debtor on July 2, 2017 under Title III of PROMESA.

               In support of the Amended Sixteenth Supplemental Statement, the Ad Hoc Group

respectfully states as follows:

               1.      As of the date of this Amended Sixteenth Supplemental Statement, in this

Title III Case, the undersigned represent the Ad Hoc Group (each holder in the Ad Hoc Group, a

“Member”).

               2.      On or about June 26 and June 27, 2014, certain funds managed or advised

by OppenheimerFunds, Inc. (“Oppenheimer”) and Franklin Advisers, Inc. (“Franklin”)

retained Kramer Levin Naftalis & Frankel LLP (“Kramer Levin”) to challenge as

unconstitutional the recently passed and soon to be enacted Puerto Rico Debt Enforcement and

Recovery Act. Over the course of the next two months, certain holders of Bonds, including

Franklin and Oppenheimer, contacted and then engaged Kramer Levin to represent a group of

holders in connection with a potential restructuring of the Bonds. From time to time thereafter,

certain additional holders of the Bonds have joined the Ad Hoc Group.

               3.      On August 2, 2017, counsel to the Ad Hoc Group submitted the Verified

Statement of the Ad Hoc Group of PREPA Bondholders Pursuant to Bankruptcy Rule 2019 [Case

No. 17-4780, Dkt. No. 164]. On November 7, 2017, counsel to the Ad Hoc Group submitted the

First Supplemental Verified Statement of the Ad Hoc Group of PREPA Bondholders Pursuant to

Federal Rule of Bankruptcy Procedure 2019 [Case No. 17-4780, Dkt. No. 407]. On December

13, 2017, counsel to the Ad Hoc Group submitted the Second Supplemental Verified Statement of

the Ad Hoc Group of PREPA Bondholders Pursuant to Federal Rule of Bankruptcy Procedure

                                                2
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2019 [Case No. 17-4780, Dkt. No. 490]. On February 6, 2018, counsel to the Ad Hoc Group

submitted the Third Supplemental Verified Statement of the Ad Hoc Group of PREPA

Bondholders Pursuant to Federal Rule of Bankruptcy Procedure 2019 [Case No. 17-4780, Dkt.

No. 633]. On August 15, 2018, counsel to the Ad Hoc Group submitted corrected versions of

the Verified Statement, the Second Supplemental Verified Statement and the Third Supplemental

Verified Statement [Case No. 17-4780, Dkt. Nos. 939, 941 and 940, respectively].         On

September 11, 2018, counsel to the Ad Hoc Group submitted the Fourth Supplemental Verified

Statement of the Ad Hoc Group of PREPA Bondholders Pursuant to Federal Rule of Bankruptcy

Procedure 2019 [Case No. 17-4780, Dkt. No. 959]. On November 29, 2018, counsel to the Ad

Hoc Group submitted the Fifth Supplemental Verified Statement of the Ad Hoc Group of PREPA

Bondholders Pursuant to Federal Rule of Bankruptcy Procedure 2019 [Case No. 17-4780, Dkt.

No. 1037]. On May 10, 2019, counsel to the Ad Hoc Group submitted the Sixth Supplemental

Verified Statement of the Ad Hoc Group of PREPA Bondholders Pursuant to Federal Rule of

Bankruptcy Procedure 2019 [Case No. 17-4780, Dkt. No. 1237]. On August 23, 2019, counsel to

the Ad Hoc Group Submitted the Seventh Supplemental Verified Statement of the Ad Hoc Group

of PREPA Bondholders Pursuant to Federal Rule of Bankruptcy Procedure 2019 [Case No.

17-4780, Dkt. No. 1610]. On November 13, 2019, counsel to the Ad Hoc Group submitted the

Eighth Supplemental Verified Statement of the Ad Hoc Group of PREPA Bondholders Pursuant

to Federal Rule of Bankruptcy Procedure 2019 [Case No. 17-4780, Dkt. No. 1735]. On

November 27, 2019, counsel to the Ad Hoc Group submitted the Ninth Supplemental Verified

Statement of the Ad Hoc Group of PREPA Bondholders Pursuant to Federal Rule of Bankruptcy

Procedure 2019 [Case No. 17-4780, Dkt. No. 1789]. On January 21, 2020, counsel to the Ad

Hoc Group submitted the Tenth Supplemental Verified Statement of the Ad Hoc Group of

PREPA Bondholders Pursuant to Federal Rule of Bankruptcy Procedure 2019 [Case No.

17-4780, Dkt. No. 1871]. On March 3, 2020, counsel to the Ad Hoc Group submitted the

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Eleventh Supplemental Verified Statement of the Ad Hoc Group of PREPA Bondholders

Pursuant to Federal Rule of Bankruptcy Procedure 2019 [Case No. 17-4780, Dkt. No. 1926].

On July 3, 2020, counsel to the Ad Hoc Group submitted the Twelfth Supplemental Verified

Statement of the Ad Hoc Group of PREPA Bondholders Pursuant to Federal Rule of Bankruptcy

Procedure 2019 [Case No. 17-4780, Dkt. No. 2043]. On April 30, 2021, counsel to the Ad Hoc

Group submitted the Thirteenth Supplemental Verified Statement of the Ad Hoc Group of

PREPA Bondholders Pursuant to Federal Rule of Bankruptcy Procedure 2019 [Case No.

17-4780, Dkt. No. 2470]. On February 22, 2022, counsel to the Ad Hoc Group submitted the

Fourteenth Supplemental Verified Statement of the Ad Hoc Group of PREPA Bondholders

Pursuant to Federal Rule of Bankruptcy Procedure 2019 [Case No. 17-4780, Dkt. No. 2721].

On April 20, 2022, counsel to the Ad Hoc Group submitted the Fifteenth Supplemental Verified

Statement of the Ad Hoc Group of PREPA Bondholders Pursuant to Federal Rule of Bankruptcy

Procedure 2019 [Case No. 17-4780, Dkt. No. 2782] (the “Fifteenth Supplemental

Statement”).2 On February 23, 2023, counsel to the Ad Hoc Group submitted the Sixteenth

Supplemental Verified Statement of the Ad Hoc Group of PREPA Bondholders Pursuant to

Federal Rule of Bankruptcy Procedure 2019 [Case No. 17-4780, Dkt. No. 3271] (the “Sixteenth

Supplemental Statement”). Counsel to the Ad Hoc Group submits this Amended Sixteenth

Supplemental Statement to update the disclosable economic interests currently held by Members

of the Ad Hoc Group.

                 4.       The Members of the Ad Hoc Group hold, or are the investment advisors or

managers of funds or accounts that hold, approximately $3.9 billion in aggregate principal




2
  The Ad Hoc Group files this Amended Sixteenth Supplemental Statement to note that the Ad Hoc Group’s
holdings in the Fifteenth Supplemental Statement were overstated. Certain amounts held by Syncora Guarantee, Inc.
(“Syncora”), which is owned by funds managed by GoldenTree Asset Management LP, were inadvertently included
twice, totaling approximately $77 million in overstated holdings in the Fifteenth Supplemental Statement. Syncora’s
holdings were not included in the Sixteenth Supplemental Statement, nor are they included in the Amended
Sixteenth Supplemental Statement.
                                                         4
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amount of the uninsured Bonds, including approximately $369.5 million in aggregate principal

amount of Monoline Matured Bonds (as defined in Exhibit A hereto), and approximately $206

million in aggregate principal amount of the insured Bonds, both as of February 16, 2023.13 In

accordance with Bankruptcy Rule 2019 and the Case Management Order, the address and nature

and amount of all disclosable economic interests for each Member is set forth in Exhibit A. The

information contained in Exhibit A is based upon information provided by the Members to

Kramer Levin and is subject to change.

                 5.       As of the date of this Amended Sixteenth Supplemental Statement, the

undersigned represent only the Ad Hoc Group in connection with the PREPA Title III Case and

does not represent or purport to represent any other entities with respect to PREPA’s Title III

Case. In addition, each Member of the Ad Hoc Group (a) does not assume any fiduciary or other

duties to any other creditor or person and (b) does not purport to act, represent or speak on behalf

of any other entities in connection with the PREPA Title III case.

                 6.       Nothing contained in this Amended Sixteenth Supplemental Statement (or

Exhibit A hereto) is intended to or should be construed to constitute (a) a waiver or release of

any claims filed or to be filed against or interests in PREPA held by any Member, its affiliates or

any other entity, or (b) an admission with respect to any fact or legal theory. Nothing herein

should be construed as a limitation upon, or waiver of, any rights of any Member to assert, file

and/or amend any proof of claim in accordance with applicable law and any orders entered in

these cases.

                 7.       The undersigned verify that the foregoing is true and correct to the best of

their knowledge.



13
    Funds managed by GoldenTree Asset Management LP own Syncora Guarantee, Inc. (“Syncora”) which has
insured or owns claims relating to approximately $178 million of PREPA bonds that are not included in the amounts
listed in this Amended Sixteenth Supplemental Statement. Syncora’s holdings had been included previously in the
Fifteenth Supplemental Statement.
                                                        5
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              8.     The undersigned reserve the right to amend or supplement this Amended

Sixteenth Supplemental Statement.




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I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court using

the CM/ECF system, which will notify case participants.

RESPECTFULLY SUBMITTED.

In San Juan, Puerto Rico, February 2324, 2023.


 TORO COLÓN MULLET P.S.C.                            KRAMER LEVIN NAFTALIS &
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                                                     Fax: (212) 715-8000
 /s/ Manuel Fernández-Bared
 MANUEL FERNÁNDEZ-BARED                              /s/ Amy Caton
 USDC-PR No. 204204                                  AMY CATON*
 E-mail: mfb@tcm.law                                 THOMAS MOERS MAYER*
                                                     ALICE J. BYOWITZ*
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  /s/ Nayda Perez-Roman                              Counsel for the Ad Hoc Group of
  NAYDA PEREZ-ROMAN                                  PREPA Bondholders
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 Counsel for the Ad Hoc Group of PREPA
 Bondholders




                                                 7
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                                   Exhibit A
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                                                                      Nature and Amount of Disclosable Economic Interest2
    Name of Creditor    1
                                Address              Debtor
                                                                      Bonds3
    BlackRock                40 East 52nd       PREPA                  2012 SER A                                                                    $61,695,000
    Financial                Street             (Puerto Rico           2023 SER A                                                                      1,970,000
    Management, Inc.,        New York,          Electric Power         2013 SER A                                                                     85,900,000
    on behalf of             NY 10022           Authority)             2016 SER A-1                                                                    1,275,072
    accounts managed                                                   2016 SER A-2                                                                    6,432,789
    or advised by it.                                                  2016 SER A-3                                                                   14,040,455
                                                                       2016 SER B-3                                                                   14,040,454
                                                                       2016 SER C-1                                                                   38,585,000
                                                                       2016 SER C-2                                                                   38,590,000
                                                                       2016 SER C-3                                                                    3,840,000
                                                                       2016 SER C-4                                                                    3,962,000
                                                                       2016 SER D-1                                                                   12,917,500
                                                                       2016 SER D-2                                                                    5,270,280


1
  Each entity listed holds disclosable economic interests, or acts as investment advisor or manager to funds and/or accounts or their respective subsidiaries that hold disclosable
economic interests, in relation to the Debtors.
2
  To the best of counsel’s knowledge, the information included herein is accurate as of February 16, 2023. The amounts set forth herein include only outstanding principal and do
not include overdue interest, interest on overdue interest and principal, and accrued interest or other amounts that may be owing under the applicable debt documents and laws. In
addition, the amounts set forth herein do not include any disclosable economic interests that are subject to pending trades or other transfers that have not settled or otherwise been
closed as of February 16, 2023.
In addition to the disclosable economic interests listed below, it should be noted that pursuant to paragraph 12 of the Amended Order and Judgment Confirming the Third
Amended Title III Plan of Adjustment of COFINA (the “COFINA Plan”), Case No. 17-3284 [ECF No. 561], all COFINA bonds were canceled on February 12, 2019. Members
of the Ad Hoc Group may hold new COFINA securities issued under the COFINA Plan.
In addition to the disclosable economic interests listed below, it should be noted that pursuant to paragraph 28 of the Order and Judgment Confirming Modified Eight Amended
Title III Joint Plan of Adjustment of the Commonwealth of Puerto Rico, the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, and the
Puerto Rico Public Buildings Authority (the “Commonwealth Plan”), Case No. 17-3283 [ECF No. 19813], all GO, ERS, and PBA bonds were canceled on March 15, 2022.
Members of the Ad Hoc Group may hold new Commonwealth, ERS, or PBA securities issued under the Commonwealth Plan.
In addition to the disclosable economic interests listed below, it should be noted that pursuant to paragraph 16 of the Order and Judgment Confirming Modified Fifth Amended
Title III Plan of Adjustment of the Puerto Rico Highways and Transportation Authority (the “HTA Plan”), Case No. 17-3567 [ECF No. 1415], all HTA bonds were canceled on
December 6, 2022. Members of the Ad Hoc Group may hold new HTA securities issued under the HTA Plan.
3
  With respect to any Capital Appreciation Bonds (“CABs”) held by the members, the amounts disclosed consist of the CABs at their accreted principal amount, calculated as of
February 16, 2023, and not the amount due upon maturity.
                                                                                           2
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                                                   Nature and Amount of Disclosable Economic Interest2
Name of Creditor1
                      Address        Debtor
                                                   Bonds3
                                                   2007 SER TT                                               18,840,000
                                                   2007 REF-SER UU                                           23,450,000
                                                   2007 REF-LIBOR-SER UU                                     20,030,000
                                                   2008 SER WW                                               60,655,000
                                                   2010 SER XX                                               96,190,000
                                                   2010 REF-SER ZZ                                           50,125,000
                                                   2010 SER AAA                                              55,090,000
                                                   2010 SER CCC                                              22,140,000
                                                   2010 REF-SER DDD                                           4,705,000
                                                   2016 SER D-4                                               7,500,000
                                                   2010 BUILD AMERICA BONDS TAXABLE-SE                       20,445,000
                                                   2010 SER BBB                                              13,550,000
                                                   2003 SER NN                                                2,100,000
                                                   2007 REF SER V V                                           6,440,000
                                                   2016 SER B-1                                               1,275,072
                                                   2016 SER B-2                                               6,432,788
                                                   2016 SER D-3                                              12,917,500
                                                   Total                                                   $710,403,910
Franklin Advisers,   One          PREPA            Power Rev 2007 UU                                         $5,000,000 (Insured)
Inc., on behalf of   Franklin     (Puerto Rico     Power Rev 2007 VV                                         31,985,000 (Insured)
accounts managed     Parkway,     Electric Power   Power Rev Series 2008 WW                                  36,580,000
                                                   Power Rev Series 2010 XX                                  62,980,000
or advised by it.    San Mateo,   Authority)       Power Rev Series 2012 A                                   48,925,000
                     CA 94403                      Power Rev Series 2013 A                                  151,485,000
                                                   Power Rev Series 2016 A-4                                  7,101,766
                                                   Power Rev Series 2016 B-4                                  7,101,765
                                                   Power Rev Series 2016 E-4                                  2,589,499
                                                   Power Rev Series E-1                                       7,768,493
                                                   Power Rev Series E-2                                       7,768,493
                                                   Power Rev Series E-3                                       2,589,500
                                                   Total                                                   $371,874,516


GoldenTree Asset     300 Park     PREPA            2005 REF-SER SS                                         $52,080,000*
                                                                 3
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                                                                     Nature and Amount of Disclosable Economic Interest2
 Name of Creditor       1
                               Address              Debtor
                                                                     Bonds3
 Management LP,             Avenue, 21st       (Puerto Rico           2002 SER LL                                                                  77,905,000*
 on behalf of funds         Floor              Electric Power         2002 REF-SER MM                                                               4,825,000*
 and/or accounts            New York,          Authority)             2005 SER RR                                                                  22,410,000*
 managed or advised         NY 10021                                  2003 SER NN                                                                  47,725,000*
 by it.45                                                             2007 REF-SER UU                                                              29,485,000*
                                                                      2003 SER NN                                                                   10,435,000
                                                                      2007 REF-SER UU                                                               26,070,000
                                                                      2007 SER TT                                                                   61,224,000
                                                                      2010 SER CCC                                                                  43,975,000
                                                                      2016 SER C-3                                                                     125,000
                                                                      2010 BUILD AMERICA BONDS-TAXABLE-SER
                                                                      EEE-ISSUER SUBSIDY                                                             3,615,000
                                                                      2010 REF-SER ZZ                                                               78,890,000
                                                                      2016 SER A-3                                                                     225,000
                                                                      2016 SER B-3                                                                     225,000
                                                                      2008 SER WW                                                                  102,340,000
                                                                      2010 SER AAA                                                                  88,056,000
                                                                      2010 SER XX                                                                   82,423,600
                                                                      2010 REF-SER DDD                                                              12,479,000
                                                                      2016 SER C-1                                                                     620,000
                                                                      2016 SER C-2                                                                     620,000
                                                                      2013 SER A                                                                   116,490,000
                                                                      2016 SER E-4                                                                   1,456,031

*Indicates holdings of formerly insured Bonds that a Bond insurer acquired all rights to as a result of payments it made under its insurance policies and then sold, assigned, and
transferred all of its rights, claims and interests arising from or on account of such Bonds or policy payments to certain Members of the Ad Hoc Group (the “Monoline Matured
Bonds”)4 Funds managed by GoldenTree Asset Management LP own Syncora which has insured or owns claims relating to approximately $178 million of PREPA bonds that are
not included in the amounts listed in this Amended Sixteenth Supplemental Statement. Syncora’s holdings had been included previously in the Fifteenth Supplemental Statement.
Syncora’s holdings of 2002 REF-SER JJ and 2005 SER QQ Bonds were inadvertently double counted in the Fifteenth Supplemental Statement, resulting in an overstatement in
holdings of approximately $77 million in the Fifteenth Supplemental Statement.
*Indicates holdings of formerly insured Bonds that a Bond insurer acquired all rights to as a result of payments it made under its insurance policies and then sold, assigned, and
transferred all of its rights, claims and interests arising from or on account of such Bonds or policy payments to certain Members of the Ad Hoc Group (the “Monoline Matured
Bonds”).
                                                                                         4
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                                                    Nature and Amount of Disclosable Economic Interest2
Name of Creditor 1
                       Address        Debtor
                                                    Bonds3
                                                    2016 SER E-3                                               1,472,317
                                                    2012 SER A                                                38,434,700
                                                    2016 SER D-4                                               2,500,000
                                                    2010 BUILD AMERICA BONDS-TAXABLE-SE                        3,065,000
                                                    2007 REF-SER V V                                           3,155,000
                                                    2016 SER E-2                                               5,576,838
                                                    2016 SER E-1                                               5,576,840
                                                    2016 SER D-2                                               6,000,000
                                                    2016 SER A-4                                               6,644,116
                                                    2016 SER-B4                                                7,046,493
                                                    2007 REF-LIBOR-SER UU                                     40,045,000
                                                    2010 SER BBB                                               9,469,000
                                                    2010 BUILD AMERICA BONDS TAXABLE-SE                       12,955,000
                                                    Total                                                  $1,005,638,935
Invesco Advisers,     350 Linden   PREPA            2004 REF-SER PP                                            $4,525,000   (Insured)
Inc., as investment   Oaks,        (Puerto Rico     2007 REF-SER V V                                           99,665,000   (Insured)
adviser/agent on      Rochester,   Electric Power   2005 SER RR                                                15,800,000   (Insured)
behalf of certain     NY 14625     Authority)       2005 REF-SER SS                                            16,955,000   (Insured)
funds and/or                                        2007 SER TT-NATL-IBC                                          225,000   (Insured)
accounts advised by                                 2007 SER TT-                                                  435,000   (Insured)
it                                                  2003 SER NN                                                 1,240,000   (Insured)
                                                    2007 REF-SER UU                                            10,305,000   (Insured)
                                                    2005 SER RR-AGC-ICC                                           255,000   (Insured)
                                                    2010 REF-SER DDD                                               40,000   (Insured)
                                                    2008 SER WW-AGC-ICC                                           500,000   (Insured)
                                                    2007 SER TT-AGM-CR                                            110,000   (Insured)
                                                    2012 SER A                                                 59,765,000
                                                    2013 SER A                                                 63,400,000
                                                    2003 SER NN                                                   360,000
                                                    2016 SER A-4                                               11,859,000
                                                    2016 SER-B4                                                14,859,000
                                                                  5
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                                                      Nature and Amount of Disclosable Economic Interest2
Name of Creditor  1
                         Address        Debtor
                                                      Bonds3
                                                      2016 SER E-1                                              12,631,000
                                                      2016 SER E-2                                              15,087,000
                                                      2016 SER E-3                                               5,415,000
                                                      2016 SER E-4                                               5,931,000
                                                      2007 SER TT                                               42,460,000
                                                      2007 REF-SER UU                                            6,740,000
                                                      2007 REF-LIBOR-SER UU                                      6,300,000
                                                      2007 REF-SER VV                                            1,575,000
                                                      2008 SER WW                                               57,100,000
                                                      2010 SER XX                                               80,804,000
                                                      2010 REF-SER ZZ                                           42,510,000
                                                      2010 BUILD AMERICA BONDS TAXABLE-SE                        1,200,000
                                                      2010 SER AAA                                              23,345,000
                                                      2010 SER CCC                                              35,955,000
                                                      2010 REF-SER DDD                                          27,425,000
                                                      2010 BUILD AMERICA BONDS-TAXABLE-SER                         895,000
                                                      EEE-ISSUER SUBSIDY
                                                      2008 SER WW                                                1,000,000
                                                      Total                                                   $666,671,000


Nuveen Asset           333 W         PREPA            PUERTO RICO ELEC PWR AUTH 16A-4-RSA-1                    $1,000,000
Management,            Wacker Dr.    (Puerto Rico     PUERTO RICO ELEC PWR AUTH REV 03NN                        8,400,000
LLC, as investment     Chicago, IL   Electric Power   PUERTO RICO ELEC PWR AUTH REV 05SS                          660,000
adviser on behalf of   60606         Authority)       PUERTO RICO ELEC PWR AUTH REV 07TT                      111,977,000
certain                                               PUERTO RICO ELEC PWR AUTH REV 07VV                        2,565,000 (Uninsured
funds/accounts,                                       PUERTO RICO ELEC PWR AUTH REV 07VV                       19,590,000 (Insured)
severally and not                                     PUERTO RICO ELEC PWR AUTH REV 08WW                       85,835,000
jointly.                                              PUERTO RICO ELEC PWR AUTH REV 10AAA                     110,765,000
                                                      PUERTO RICO ELEC PWR AUTH REV 10CCC                      78,746,000
                                                      PUERTO RICO ELEC PWR AUTH REV 10DDD                       8,565,000
                                                      PUERTO RICO ELEC PWR AUTH REV 10EEE                     134,665,000
                                                      PUERTO RICO ELEC PWR AUTH REV 10XX                      120,850,000
                                                                 6
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                                                       Nature and Amount of Disclosable Economic Interest2
Name of Creditor   1
                         Address         Debtor
                                                       Bonds3
                                                       PUERTO RICO ELEC PWR AUTH REV 10YY BAB                  133,100,000
                                                       PUERTO RICO ELEC PWR AUTH REV 10ZZ                       92,964,000
                                                       PUERTO RICO ELEC PWR AUTH REV 12A                       128,973,000
                                                       PUERTO RICO ELEC PWR AUTH REV 13A                        82,228,000
                                                       PUERTO RICO ELEC PWR AUTH REV 16C-4                       2,000,000

                                                       Total                                                 $1,122,883,00
Taconic Capital        280 Park       PREPA            2010 REF-SER ZZ                                           $10,405,000
Advisors L.P., as      Avenue, 5th    (Puerto Rico     2013 SER A                                                  3,100,000
investment adviser     Floor, New     Electric Power   2016 SER A-4                                                3,293,263
on behalf of certain   York, NY       Authority)       2016 SER D-2                                                5,000,000
funds/accounts,        10017                           2016 SER D-4                                                7,270,280
severally and not                                      2010 SER AAA                                                  250,000
jointly.                                               2010 SER CCC                                                  840,000
                                                       2007 SER TT                                                 9,090,000
                                                       2010 REF-SER DDD                                            3,240,000
                                                       2010 BUILD AMERICA BONDS-TAXABLE-SE                         2,720,000
                                                       2010 BUILD AMERICA BONDS-TAXABLE-SER
                                                       EEE-ISSUER SUBSIDY                                            400,000
                                                       2008 SER WW                                                   770,000
                                                       2012 SER A                                                  1,400,000
                                                       2010 SER BBB                                                2,610,000
                                                       2005 REF-SER SS                                           37,055,000*
                                                       2007 REF-SER UU                                           17,995,000*
                                                       2002 REF-SER MM                                            5,160,000*
                                                       Total                                                    $110,598,543
Whitebox               3033           PREPA
Advisors LLC, as       Excelsior      (Puerto Rico        2016 SER D-2-RSA-1                                     $3,000,000
investment adviser     Blvd,          Electric Power      2007 SER TT-RSA-1                                       1,660,000
on behalf of certain   Suite 500,     Authority)          2008 SER WW-RSA-1                                      12,125,000
funds/accounts,        Minneapolis,                       2010 SER XX-RSA-1                                       2,455,000
severally and not      MN 55416                           2010 BABS-SER EEE-RSA-1                                13,970,000
                                                                     7
                   Case:17-03283-LTS Doc#:23628-1 Filed:02/24/23 Entered:02/24/23 19:12:27        Desc:
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                                            Nature and Amount of Disclosable Economic Interest2
Name of Creditor
               1
                   Address       Debtor
                                            Bonds3
jointly.                                       2007 REF-SER UU-RSA-1                                   3,370,000
                                               2007 REF-LIBOR-SER UU-RSA-1                             8,200,000
                                               2007 REF-SER UU                                       15,000,000*
                                               2005 REF-SER SS                                       37,805,000*
                                               2002 REF-SER MM                                       22,055,000*
                                             Total                                                  $119,640,000




                                                          8
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                           Exhibit Page 16 of 16




                                    Summary report:
         Litera® Change-Pro for Word 10.14.0.46 Document comparison done on
                                 02/24/2023 4:59:26 PM
       Style name: KL_Default
       Intelligent Table Comparison: Active
       Original filename:
       KL2-#3326502-v4-PREPA_-_AHG_2019_-_16th_Supplemental.DOCX
       Modified DMS: dm://KL2/3327423/1
       Changes:
       Add                                                    22
       Delete                                                 4
       Move From                                              1
       Move To                                                1
       Table Insert                                           0
       Table Delete                                           0
       Table moves to                                         0
       Table moves from                                       0
       Embedded Graphics (Visio, ChemDraw, Images etc.)       0
       Embedded Excel                                         0
       Format changes                                         0
       Total Changes:                                         28
